Case 17-55484-wlh   Doc 41   Filed 04/25/18 Entered 04/25/18 09:29:47   Desc Main
                             Document      Page 1 of 6
Case 17-55484-wlh   Doc 41   Filed 04/25/18 Entered 04/25/18 09:29:47   Desc Main
                             Document      Page 2 of 6
Case 17-55484-wlh   Doc 41   Filed 04/25/18 Entered 04/25/18 09:29:47   Desc Main
                             Document      Page 3 of 6
Case 17-55484-wlh   Doc 41   Filed 04/25/18 Entered 04/25/18 09:29:47   Desc Main
                             Document      Page 4 of 6
Case 17-55484-wlh   Doc 41   Filed 04/25/18 Entered 04/25/18 09:29:47   Desc Main
                             Document      Page 5 of 6
Case 17-55484-wlh   Doc 41   Filed 04/25/18 Entered 04/25/18 09:29:47   Desc Main
                             Document      Page 6 of 6
